Case 20-10383-RG   Doc 42 Filed 11/04/20 Entered 11/05/20 00:21:45   Desc Imaged
                         Certificate of Notice Page 1 of 4
Case 20-10383-RG         Doc 42 Filed 11/04/20 Entered 11/05/20 00:21:45              Desc Imaged
                               Certificate of Notice Page 2 of 4



   Page: 2

   Debtor:           Cheryl Lynn Hall

   Case No.          20-10383 RG

   Order:            Interim Order re Final Adjournment of 341(a) Hearing
                     and Final Adjournment of Hearing for Motion to Dismiss Case


              THIS MATTER having been brought before the Court by the Trustee’s Motion seeking

   dismissal of the Chapter 7 bankruptcy petition filed by the within Debtor for her failure to

   cooperate with the Trustee and her failure to appear and be examined at numerous 341 (a) hearings

   over the last 11 months; THEREFORE, it is hereby

              ORDERED, that the Debtor is granted a FINAL adjournment of her 341(a) hearing. Said

   FINAL 341(a) hearing will be held telephonically on November 16, 2020 at 9:00 AM and can be

   accessed by telephone number 866-852-1048, using access code 8753879#; and it is hereby

   further,

              ORDERED, that the Trustee’s Motion to Dismiss Case has been granted a FINAL

   adjournment to December 1, 2020 at 10:00 AM and the Debtor can attend telephonically via Court

   Solutions at http://www.Court-Solutions.com or (917) 746-7476; and it is hereby further

              ORDERED, that should the Debtor not appear telephonically for her FINAL 341(a) hearing

   on November 16, 2020 at 9:00 AM, and does not appear telephonically for the FINAL

   adjournment of the Trustee’s Motion to Dismiss on December 1, 2020 at 10:00 AM, the Chapter

   7 Bankruptcy Petition of Cheryl Lynn Hall, case number 20-10383, will be automatically

   dismissed by further Order of the Court. on December 1, 2020 and this Order will serve as the

   Order Dismissing Case; and it is hereby further
Case 20-10383-RG       Doc 42 Filed 11/04/20 Entered 11/05/20 00:21:45              Desc Imaged
                             Certificate of Notice Page 3 of 4



   Page: 3

   Debtor:        Cheryl Lynn Hall

   Case No.       20-10383 RG

   Order:         Interim Order re Final Adjournment of 341(a) Hearing
                  and Final Adjournment of Hearing for Motion to Dismiss Case




          ORDERED, that the Trustee will serve a copy of the within Order to the Debtor within five

   (5) days of the receipt of the Order being entered by the Court.
       Case 20-10383-RG                     Doc 42 Filed 11/04/20 Entered 11/05/20 00:21:45                                              Desc Imaged
                                                  Certificate of Notice Page 4 of 4
                                                               United States Bankruptcy Court
                                                                   District of New Jersey
In re:                                                                                                                  Case No. 20-10383-RG
Cheryl Lynn Hall                                                                                                        Chapter 7
       Debtor(s)
                                                     CERTIFICATE OF NOTICE
District/off: 0312-2                                                   User: admin                                                                 Page 1 of 1
Date Rcvd: Nov 02, 2020                                                Form ID: pdf903                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 04, 2020:
Recip ID                 Recipient Name and Address
db                     + Cheryl Lynn Hall, 87 Westervelt Pl, Teaneck, NJ 07666-6021

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 04, 2020                                            Signature:            /s/Joseph Speetjens




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 2, 2020 at the address(es) listed
below:
Name                               Email Address
Donald V. Biase
                                   dbiase4236@gmail.com dbiase@iq7technology.com;dbiase4236@gmail.com;pbellina@outlook.com;ecf.alert+Biase@titlexi.com

Donald V. Biase
                                   on behalf of Trustee Donald V. Biase dbiase4236@gmail.com
                                   dbiase@iq7technology.com;dbiase4236@gmail.com;pbellina@outlook.com;ecf.alert+Biase@titlexi.com

Robert P. Saltzman
                                   on behalf of Creditor MTGLQ Investors LP c/o Selene Finance LP dnj@pbslaw.org

U.S. Trustee
                                   USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 4
